Case 2:06-cr-20411-RHC-SDP ECF No. 143, PageID.280 Filed 09/16/09 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 06-CR-20411

RUDOLPH DALRON WILLIAMS, et al.,

             Defendants.
                                                /

            ORDER GRANTING MOTIONS TO WITHDRAW AS COUNSEL

      Pending before the Court are Jennifer Herndon, David A. Lane, Lucas E. Phillips,

Jr., and Michael O. Sheehan’s motions to withdraw as counsel. Because the

Government will not seek the death penalty, the court will grant the motions.

      Defendants Rudolph Dalron Williams, Frank Pierce, Daryl Pierce, Derrick Young,

and Clarence Jackson were charged in an indictment with a crime for which the

authorized punishment was death. Pursuant to 18 U.S.C. § 3005, the court appointed

Michael O. Sheehan to serve as learned counsel for Defendant Rudolph Dalron

Williams, Robert Hill to serve as learned counsel for Defendant Frank Pierce, Lucas E.

Phillips, Jr. to serve as learned counsel for Defendant Darryl Pierce, David A. Lane to

serve as learned counsel for Defendant Derrick Young, and Jennifer Herndon to serve

as learned counsel for Defendant Clarence Jackson. On August 5, 2009, the

Government filed a notice of intent not to seek the death penalty. On August 19, 2009,

a telephone conference was held, and the learned counsel advised the court that their

further participation in the case was no longer necessary. After the telephone

conference, the learned counsel filed the present motions to withdraw.
Case 2:06-cr-20411-RHC-SDP ECF No. 143, PageID.281 Filed 09/16/09 Page 2 of 3




        Based on the telephone conference, the court determines that defendants can be

effectively represented by local counsel and that there are no extenuating

circumstances that militate against reducing the number of counsel in this case. See

Guidelines for the Administration of the Criminal Justice Act and Related Statutes

6.02(b)(2). Thus, the court will grant the motions to withdraw.

        The court, however, did not receive a motion from Robert Hill, nor was Mr. Hill

present at the telephone conference, even though he was given notice to appear.

Accordingly,

        IT IS ORDERED that Robert Hill show cause why he should remain as learned

counsel for Defendant Frank Pierce or file a motion to withdraw by September 21,

2009.

        IT IS FURTHER ORDERED that Lucas E. Phillips, Jr.’s “Application [for]

Withdrawal of Second Counsel” [Dkt. # 137], Michael Sheehan’s “Application, Petition,

Request to Withdraw Appearance” [Dkt. # 138], David Lane’s “Motion for Withdrawal of

Attorney” [Dkt. # 140], and Jennifer Herndon’s “Motion for Withdrawal of Attorney” [Dkt.

#141] are GRANTED.

        IT IS ALSO ORDERED that the learned counsel submit their final CJA vouchers

for both themselves and experts by October 23, 2009.


                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

Dated: September 16, 2009




                                             2
Case 2:06-cr-20411-RHC-SDP ECF No. 143, PageID.282 Filed 09/16/09 Page 3 of 3




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 16, 2009, by electronic and/or ordinary mail.


                                                                     S/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




                                                                        3
S:\Cleland\JUDGE'S DESK\C1 ORDERS\06-20411.WILLIAMS.MotiontoWithdraw.Grant.wpd
